Case 23-11161-JKS   Doc 350-2   Filed 10/25/23   Page 1 of 4




                       EXHIBIT B

             Redline of Confirmation Schedule
                 Case 23-11161-JKS              Doc 350-2        Filed 10/25/23        Page 2 of 4




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE




In re:                                                       Chapter 11

Prime Core Technologies Inc., et al.,1                       Case No. 23-11161 (JKS)

                                     Debtors.                (Jointly Administered)

                                                             Re: Docket Nos. 94, 258, 259 & 264


         AMENDED SOLICITATION AND CONFIRMATION HEARING SCHEDULE2

                         Event                                            Date and Time (if any)
Deadline to Object to Solicitation Procedures                    September 28, 2023 at 4:00 p.m. (ET)
and Conditional Approval of DS
Conditional Approval Hearing                                       October 5, 2023 at 2:00 p.m. (ET)
Voting Record Date                                                            October 6, 2023
Solicitation Commencement Date                                                October 6, 2023
Deadline to Publish Notice of Confirmation
Hearing                                                                      October 14, 2023

Deadline to File Rule 3018 Motions                            October 27November 28, 2023, at 4:00 p.m.
                                                                              (ET)
Deadline to File Plan Supplement                              October 27November 28, 2023, at 4:00 p.m.
                                                                              (ET)
Confirmation Objection Deadline                               November 7December 5, 2023, at 4:00 p.m.
                                                                              (ET)
Deadline to Object to Rule 3018 Motions                       November 7December 5, 2023, at 4:00 p.m.




1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and
     Prime Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas,
     Nevada 89135.
2
     This schedule omits dates and deadlines that are temporally obsolete.



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                Case 23-11161-JKS               Doc 350-2      Filed 10/25/23   Page 3 of 4




                                                                            (ET)
Voting Deadline                                              November 7December 5, 2023, at 4:00 p.m.
                                                                            (ET)
Deadline to File Voting Affidavit                                November 11December 12, 2023
Deadline to File Declarations, Brief, in
Support of Confirmation, Replies in support                   November 11December 12, 2023, at 4:00
of Rule 3018 Motions                                                      p.m. (ET)

Confirmation Hearing                                          November 14December 19, 2023, at 1:00
                                                                        p10:00 a.m. (ET)




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        Case 23-11161-JKS      Doc 350-2   Filed 10/25/23   Page 4 of 4




Document comparison by Workshare Compare on Wednesday, October 25,
2023 10:10:26 PM
Input:
Document 1 ID       iManage://imanageus.mwe.com/dm_us/200305462/3
                    #200305462v3<imanageus.mwe.com> - PT - Solicitation
Description
                    and Confirmation Schedule
Document 2 ID       iManage://imanageus.mwe.com/dm_us/200305462/4
                    #200305462v4<imanageus.mwe.com> - PT - Amended
Description
                    Solicitation and Confirmation Schedule
Rendering set       Standard

Legend:
Insertion
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Style change
Format change
Moved deletion
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Deleted cell
Moved cell
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Padding cell

Statistics:
                                       Count
Insertions                               26
Deletions                                20
Moved from                                0
Moved to                                  0
Style changes                             0
Format changes                            0
Total changes                            46
